       Case: 4:12-cv-01324-SL Doc #: 15 Filed: 09/04/12 1 of 1. PageID #: 60




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO

ELLERY HORSLEY,                     }              Case No. 4:12 CV 1324
                                    }
      Plaintiff,                    }              JUDGE: Sara Lioi
                                    }
      v.                            }
                                    }
PENTAGROUP FINANCIAL, LLC,          }
                                    }
      Defendant.                    }
____________________________________/

                     ORDER DISMISSING CASE WITH PREJUDICE

       THIS CAUSE having come before the Court on the Parties’ Stipulated Notice of

Dismissal, it is hereby ORDERED that this case is dismissed with prejudice.


                  4th day of September 2012.
SO ORDERED THIS _____


                                                   ________________________________
                                                   Judge Sara Lioi
                                                   U.S. District Judge
